  Case 5:13-cv-01077-VAP-SP Document 1 Filed 06/17/13 Page 1 of 38 Page ID #:1




  1    Hunter H. Hoestenbach (CA Bar No. 249130)
  2    HOESTENBACH LAW                                                                                         ,.....,
                                                                            I!O                    ("')
       501 W. Broadway Ste. A230                                            -<               ("')f
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                                                                                             _ ... ;:0         '-'-'
  3    San Diego, CA 92101-3536                                                               ::::;;:::r.:      C-

  4    Tel: 619.940.4868/ Fax: 619.546.9490                                  \"\              ::0 c:
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  5    E-mail: Hunter@HoestenbachLaw.com                                                   ~ ~2:::'·~            --1
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  6    Attorney for Defendant                                                 \ }.7 'Ci:~ ~:~~ i
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                                                                                                                   t;?
  7    Legal Recovery Law Offices                                                  \               ?::.:S2          0
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  8                                                                                    \
  9·                              UNITED STATES DISTRICT COURT
 10              CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION
 11
                                    ED cv
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 12
 13
       In re:
                                                                                                                          SPx
       BEATRICE MURO,                                NOTICE OF REMOVAL OF CIVIL
 14                                                  ACTION UNDER 28 U.S.c. §§ 1441
 15                  Plaintiff,                      & 1446
 16             v.
 17
 18 LEGAL RECOVERY LAW OFFICES,
    INC.; and DOES !~10, Inclusive,
 19·.             71i/Jp)Gf/
 20            Defendants.

 21
 22    TO THE CLERK OF THE COURT:
 23             PLEASE TAKE NOTICE that defendant LEGAL RECOVERY LAW
 24    OFFICES, INC. ("LRLO"), pursuant to 28 U.S.C. §§ 1441 and 1446, hereby
 25    removes the below described state court action to the United States District Court
 26    for the Central District of California, Eastern Division. In support of this removal,
 27    LRLO states:
HHH
                                                   - 1-                      Muro v. LRLO -
                                        Def.'s Notice of Removal
      Case 5:13-cv-01077-VAP-SP Document 1 Filed 06/17/13 Page 2 of 38 Page ID #:2




  1          1.     On May 7, 2013, an action was commenced in the Superior Court of
  2   California, County of Riverside, Civil Division under Case No. TEC1302073 and
  3   entitled Beatrice Muro v. Legal Recovery Law Offices, Inc., et. al. A true and
  4   correct copy of the Summons, Complaint, Certificate of Service, and all other
  5   process, pleadings and orders served upon LRLO are attached hereto as Exhibit 1.
  6   28 U.S.C. § 1446(a).
  7          2.     On May 20, 2013, plaintiff Beatrice Muro served LRLO with a copy
  8   of the Summons and Complaint. See Exhibit 1. Aside from the material in Exhibit
  9   1, LRLO is not aware of any other process, pleadings or orders served upon LRLO
 10   in this action.
 11          3.     LRLO files this Notice of Removal within one year of the date the
 12   action was originally filed and within thirty days of receipt of the Complaint.
 13   Removal is therefore timely. 28 U.S.C. § 1446(b)(1).
 14          4.     This Court has original jurisdiction of this civil action under 28 U.S.C.
 15   § 1331 because arises under the laws of the United States; that is, plaintiff’s claims
 16   for relief assert violations of federal law under 15 U.S.C. §§ 1692, et. seq. Hence
 17   this federal question action may be removed to this Court by LRLO pursuant to the
 18   provisions of 28 U.S.C. § 1441(a).
 19          5.     Supplemental jurisdiction of any state law claim is proper under 28
 20   U.S.C. § 1367(a).
 21          6.     Promptly after filing this Notice of Removal, LRLO will give written
 22   notice of the removal to all adverse parties and will file a copy of the notice with
 23   the Clerk of the Superior Court of California, County of Riverside, Civil Division.
 24   28 U.S.C. § 1446(d).
 25          7.     LRLO reserves the right to supplement this Notice of Removal when
 26   additional information becomes available. LRLO further reserves all rights,
 27   including but not limited to, defenses and objections as to venue, personal
HHH                                           -2-                           Muro v. LRLO
                                    Def.’s Notice of Removal
  Case 5:13-cv-01077-VAP-SP Document 1 Filed 06/17/13 Page 3 of 38 Page ID #:3




  1 jurisdiction and service. The filing qfthis Notice of Removal is subject to, and
  2   without waiver of, any such defense or objection.
  3
  4   Date: June 17,2013                    Respectfully submitted,
  5
  6                                         HOESTENBACH LAW
  7
  8                                         By: /s/ Hunter H. Hoestenbac
  9                                            Hunter H. Hoestenbach (S
                                               501 W. Broadway Ste. A230
 10                                             San Diego, CA 92101-3536
 11                                            Tel: 619.940.4868/ Fax: 619.546.9490
                                               E-Mail: Hunter@HoestenbachLaw.com
 12
 13                                             ATTORNEY FOR LRLO
 14
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HHH
                                             -3-                        Murov.LRLO
                                  Def. ' s Notice of Removal
      Case 5:13-cv-01077-VAP-SP Document 1 Filed 06/17/13 Page 4 of 38 Page ID #:4




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 26                          EXHIBIT 1
 27
HHH                                        -1-                     Muro v. LRLO
                          Def.’s Notice of Removal (Exhibit 1)
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  Case 5:13-cv-01077-VAP-SP Document 1 Filed 06/17/13 Page 33 of 38 Page ID #:33




  1                                  PROOF OF SERVICE
  2-
       I, Hunter Hoestenbach, am an attorney licensed in the State of California. My
  3    business address is 501 W. Broadway Ste. A230, San Diego, CA 92101. I am over
  4    18 years of age, not a party to the within action, and I am exempt from registration
  5    under Cal. Bus. & Prof. Code § 22350(b).

  6    I certify that, on June 17,2013, defendant Legal Recovery Law Offices, Inc.'s
  7    Notice of Removal Under 28 U.S.C. §§ 1441 and 1446 (Re: Muro v. LRLO, Case#
       TEC1302073, Riverside County Super. Ct.) was served on all parties or their
  8    counsel of record named below by serving a true and correct copy in the manner
  9    indicated.

 10  Jonathan Doan, Esq.
 11  Brother's Law Group, LLP
     635 Camino De Los Mares Ste. 200
 12·
     San Clemente, CA 92673
 13 949.334.5613 1 fax 949.334.5364
 14 Attorneys for Plaintiff Beatrice Muro

 15
 16    l  FRCP 5(b)(1) & (b)(2)(C): I caused each envelope, with postage thereon fully
 17    prepaid, to be placed in the United States mail at San Diego, CA. I am readily
       familiar with the practice of Hoestenbach Law for collecting and processing
 18    correspondence for mailing, said practice being that, in the ordinary course of
 19    business, mail is deposited in the United States Postal Service the same day as it is
       placed for collection.
 20
 21    Executed on June 17, 2013 in San Diego, CA.
 22.
            . I declare under penalty of perjury under the laws of the state of California
 23    that the foregoing is true and correct.                                         J)                             /
 24
 25    Date: June 17,2013                                =H=un=te=r-=H=.c...;:H=o=-.;e=s=te=n=b=ac=h==--fJ.tT--;r--i::;i.J'o-_A-' ~
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 26                                                    Hunter H. Hoestenbach                                                      [}
 27
HHH
                                                - 1-                                           Murov. LRLO
                           Def. ' s Notice of Removal (Proof of Service)
         Case 5:13-cv-01077-VAP-SP      Document 1 Filed 06/17/13 Page 34 of 38 Page ID #:34
                           UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                         CIVIL COVER SHEET

I. (a) PLAINTIFFS ( Check box if you are representing yourself                   0 )             DEFENDANTS               (Check box if you are representing yourself               0 )
BEATRICE MURO                                                                                     LEGAL RECOVERY LAW OFFICES, INC.


(b) Attorneys (Firm Name, Address and Telephone Number. If you                                   (b) Attorneys (Firm Name, Address and Telephone Number. If you
are representing yourself, provide same.)                                                        are representing yourself, provide same.)
Jonathan Doan, Esq. / Brother's Law Group, LLP                                                   Hunter Hoestenbach, Esq.·
635 Camino De Los Mares #200                                                                     530 W. Broadway Ste. A230, San Diego, CA 92101
San Clemente, CA 92673 / (949) 334-5613                                                          (619) 940-4868
II. BASIS OF JUIfISDICTION (Place an X in one box only.)                                 III. CITIZENSHIP OF PRINCIPAL PARTIES- For Diversity Cases Only
                                                                                               (Place an X in one box for plaintiff and one for defendant)
o        1. u.s. Government
         Plaintiff
                                         003. Federal Question (U.s.
                                            Government Not a Party)
                                                                                         Citizen ofThis State
                                                                                                                   PTF
                                                                                                                   .'Ai
                                                                                                                           DEF
                                                                                                                   !VI 1 0 1 Incorporated or Principal Place
                                                                                                                                   of Business in this State
                                                                                                                                                                               PTF
                                                                                                                                                                               0     4
                                                                                                                                                                                         DEF
                                                                                                                                                                                          !'VI 4
                                                                                                                                                                                          'AI
                                                                                         Citizen of Another State     o    2     0   2     Incorporated and Principal Place
o        2. U.s. Government
         Defendant
                                         04.Diversity (Indicate Citizenship              Citizen or Subject of a
                                                                                                                      o    3     0   3
                                                                                                                                           of Business in Another State
                                                                                                                                           Foreign Nation
                                            of Parties in Item III)                      Foreign Country

IV. ORIGIN (Place an X in one box only.)                                                                            5. Transferred from Another         6. Multl-
                                                                                                              D       District (Specify)           0       District
     1. Original   !VI 2. Removed from                0     3. Remanded from               4. Reinstated or                                             litigation
    O   Proceeding !AI State Court                             Appellate Court        O       Reopened


V. REQUESTED IN COMPLAINT: JURY DEMAND:                                  IX! Yes 0          No      (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23:                      0     Yes     !Xl No                      !Xl MONEY DEMANDED IN COMPLAINT: $ 23,950.00
VI. CAUSE OF ACTION (Cite the u.s. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
    15 U.s.C. sec. 1692, et. seq.
VII. NATURE OF SUIT (Place an X in one box only).

         OTHER STATUTES                  CONTRACT             REAL PROPERTY CONT                  IMMIGRATION                  PRISONER PETITIONS                     PROPERTY RIGHTS
    0    375 . False Claims.Act   o 110 Insurance            0   240 Torts to Land
                                                                                            0
                                                                                                 462 Naturalization
                                                                                                 Application              o
                                                                                                                                  Habeas Corpus:
                                                                                                                                463 Alien Detainee
                                                                                                                                                            o 820 Copyrights
    0
         400 State                o 120Marine                0      245 Tort Product
                                                                    liability                    465 Other                o Sentence
                                                                                                                            510 Motions to Vacate
                                                                                                                                                            o 830Patent
         Reapportionment                                                                    0                                                               o 840 Trademark
    0    410 Antitrust            o 130 Miller Act           0
                                                                    290 All Other Real
                                                                                                 Immigration Actions
                                                                                                                          o 530 General
                                                                                                                                            .
                                                                    Property                          TORTS                                                      SOCIAL SECURITY
    0    430 Banks and Banking    0
                                        140 Negotiable
                                        Instrument                       TORTS                                            o 535 Death Penalty               o 861 HIA (1395ff)
         450 Commerce/ICC
    0    Rates/Etc.
                                        150 Recovery of
                                        Overpayment &        o
                                                                  PERSONAL INJURY
                                                                   310Airplane
                                                                                            0    370 Other Fraud
                                                                                                                          0
                                                                                                                                  Other:
                                                                                                                                540 Mandamus/Other
                                                                                                                                                            o 862 Black Lung (923)
                                  0     Enforcement of                                      0    371 Truth iii Lending                                      o 863 DIWClDIWW (405 (g))
    0    460 Deportation                                           315 Airplane                                           0     550 Civil Rights
    o    470 Racketeer Influ-
                                        Judgment             0     Product liability             380 Other Personal                                         o 864 SSID TItle XVI
                                                                                            0                                   555 Prison Condition
                                  0                                320 Assault, Libel &          Property Damage          0
    00
         enced & Corrupt Org.
         480 Consumer Credit
                                        151 Medicare Act
                                        152 Recovery of
                                                             0     Slander
                                                                                                 385 Property Da mage     0
                                                                                                                                S60 Civil Detainee
                                                                                                                               Conditions of
                                                                                                                                                            o 865 RSI (40S (g))
                                                             0
                                                                   330 Fed. Employers'      0    Product Liability
                                  0     Defaulted Student          Liability                                                    Confinement                       FEDERAL TAX SUITS
    0    490 Cable/Sat TV               Loan (Excl. Vet.)                                         BANKRUPTCY                  FORFEITURE/PENALTY                870 Taxes (U.s. Plaintiff or
         850 Securities/Com-                                 0     340 Marine                    422 Appeal 28                                              0   Defendant)
    0                               153 Recovery of                                         0                               625 Drug Related
                                                                                                                          o Seizure
         modities/Exchange        o Vet.
                                    Overpayment of
                                         Benefits
                                                             0
                                                                   345 Marine Product
                                                                   Liability
                                                                                                 USC 158
                                                                                                 423 Withdrawal 28          USC 881
                                                                                                                                    of Property 21
                                                                                                                                                            0   871 IRS-Third Party 26 USC
                                                                                                                                                                7609
    0
         890 Other Statutory                                                                0    USC 157
         Actions                        160 Stockholders'    0     350 Motor Vehicle
                                                                                                  CIVIL RIGHTS
    0    891 Agricultural Acts    0     Suits                      355 Motor Vehicle                                      0     690 Other
                                                             0     Product Liability        0    440 Other Civil Rights
         893 Environmental              190 Other                                                                                        LABOR
    0    Matters                  0     Contract             0
                                                                   360 Other Personal
                                                                                            0    441 Voting               o 710  Fair Labor Standards
                                                                   Injury
    o    895 Freedom of Info.
                                  o Product
                                    195 Contract                   362 Personal Injury-     0    442 Employment             Act
.        Act
                                            Liability        0     Med Malpratice                                         o 720  Labor/Mgmt.
    o    896 ·Arbitration
                            .     In                         0
                                                                   365 Personal Injury-     0
                                                                                                 443 Housingl               Relations
                                        196 Franchise
                                       REAL PROPERTY
                                                                   Product Liability             Accomodations
                                                                                                                          o 740 Railway Labor Act
    o 899  Admin. Procedures
                                        210 Land
                                                                   367 Health Carel
                                                                                            0
                                                                                                 445 American with
                                                                                                 Disabilities-            o 751  Family and Medical
      Act/Review of Appeal of
      Agency Decision          o                  0
                                        Condemnation
                                                                   Pharmaceutical
                                                                   Personal Injury               Employment                 Leave Act
                                                                                                                          o 790
                                                                                                                                              .
                               o        220 Foreclosure            Product Liability        o    446 American with               Other Labor
    o State
      950 Constitutionality of o 230 Rent Lease &                  368 Asbestos                  Disabilities-Other         Litigation
                                                                                                                          o Security
            Statutes
                                 Ejectment        o                Personalll~~i~tv
                                                                   Proollrt I· . .
                                                                                            o    448 Education              791 Employee Ret. Inc.
                                                                                                                                      Act

    FOR OFFICE USE ONLY: CaseNumber:                        ED CV 13 -                                                        01 0"                                   .
                            AFTER COMPLETING PAGE 1 OF FORM CV-71 , COMPLETE THE INFORMATION REQUESTED ON PAGE 2.                                                         \j i\?         SPx
    CV-71 (02/13)                                                              CIVIL COVER SHEET                                                                       Page 1 of2

                                                                                                                                         JUN 1 7         20lI
     Case 5:13-cv-01077-VAP-SP Document 1 Filed 06/17/13 Page 35 of 38 Page ID #:35
                                           UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                    CIVIL COVER SHEET
.VIII(a). IDENTICAL CASES:              Has this action been previously filed in this court and dismissed, remanded or closed?                    !Xl   NO            DYES

        If yes, list cas~ number(s):

VIII (b). RELATED CASES:           Have any cases been previously filed in this court that are related to the present case? ·                     IX!   NO            DYES

        If yes, list case number(s):

   Civil cases are deemed related ita previously filed case and the present case:

   (Check all boxes that apply)    0     A. Arise from the same or closely related transactions, happenings, or events; or

                                   o      B. Call for determination of the same or substantially related or similar questions of law and fact; or

                                   o      C For other reasons would entail substantial duplication of labor if heard by different judges; or

                                   o      D. Involve the same patent, trademark or copyright and one of the factors identified above in a, b or c also is present.
IX. VENUE: (When completing the following information, use an additional sheet if necessary.)
(al List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named
plaintiff resides.

 o   Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (bl.
                                                                                             California County outside of this District; State, if other than California; or Foreign
County in this District:*                                                                    Countrv

 Riverside
                      .
(bl List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named
defendant resides.

 o   Check here if the government, its agencies or employees is a narned defendant. If this box is checked, go to item (cl.
                                                                                             Califomia County outside of this District; State, if other than California; or Foreign
County in this District:*                                                                    Countrv

 San Diego

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
NOTE: In land condemnation cases, use the location of the tract of land involved.
                                                                                              California County outside of this District; State, if other than California; or Foreign
County in this District:*
                                                                                              Count

 Riverside

."Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara
 Note: In land condemnation cases, use the location of the tract of Ian ·nvo

 X. SIGNATURE OF AnORNEY (OR SELF-REPRESENTED UnGANT): ~~~~~~Q...,-"";~::::===-___ DATE:                                                          June 17,2013
Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained rein n . her replace nor supplement the filing and service of pleadings or
other papers as required by law. This form, approved by the Judicial Conference of the United St             . S~ tember 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet).
Key to Statistical codes relating to Social Security Cases:
      Nature of Suit Code Abbreviation                          Substantive Statement of Cause of Action
                                                    All claims for health insurance benefits (Medicare) under TItle 18, Part A, of the Social Security Act, as amended. Also,
         861                       HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                    (42 U.s.C 1935FF{b))

        862                        BL                 All claims for "Black Lung" benefits under TItle 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.s.C
                                                      923)

        863                        DIWC               All claims filed by insured workers for disability insurance benefits under TItle 2 of the Social Security Act, as amended; plus
                                                      all claims filed for child's insurance benefits based on disability. {42 U.s.C 405 (g))

         863                       DIWW               All claims filed for widows or widowers insurance benefits based on disability under TItle 2 of the Social Security Act, as
                                                      amended. {42 U.s.C 405 (g))

        864                        SSID               All claims for supplemental security income payments based upon disability filed under TItle 16 of the Social Security Act, as
                                                      amended.
         865                       RSI                All claims for retirement (old age) and survivors benefits under TItle 2 of the Social Security Act, as amended.
                                                      {42 U.s.C 40S (g))

 CV-71 (02/13)                                                               CIVIL COVER SHEET                                                                 Page 2 of2
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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA


      NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY


                  This case has been assigned to District Judge Virginia A. Phillips and the assigned
            discovery Magistrate Judge is Sheri Pym.

            The case number on all documents filed with the Court should read as follows:

                                                EDCV13- 1077 VAP (SPx)

             Pursuant to General Order 05-07 ofthe United States District Court for the Central
       District of California, the Magistrate Judge has been designated to hear discovery related
       motions.



       All discovery related motions should be noticed on the calendar of the Magistrate Judge




                                                               NOTICE TO COUNSEL

     A copy of this notice must be served with the summons and complaint on al/ defendants (if a removal action is
     filed, a copy of this notice must be served on al/ plaintiffs).

     Subsequent documents must be filed at the following location:

     U     Western Division                        U      Southern Division              VEastern Division
           312 N. Spring St., Rm. G-8                     411 West Fourth St., Rm. 1-053 ~ ~470 Twelfth St., Rm. 134
           Los Angeles, CA 90012                          Santa Ana, CA 92701-4516          Riverside, CA 92501




     Failure to file at the proper location will result in your documents being returned to you.




     CV-18 (03/06)            NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
 Case 5:13-cv-01077-VAP-SP Document 1 Filed 06/17/13 Page 37 of 38 Page ID #:37
                                                               , 1 _ FO
                                                               F'l   _




                                                                            2013 JUN 11 PH 2: 09


                                 UNITED STATES DISTRICT COURif:,_ _ _.__._ ....:;t....-
                                CENTRAL DISTRICT OF CALIFORNIA
                                                          CASE NUMBER
   BEATRICE MURO
                                           PLAINTIFF(S)           EDCV13- 1077 VAP (SPx)

                        V.
                                                                     NOTICE TO PARTIES OF
   LEGAL RECOVERY LAW OFFICES,
                                                                 COURT -DIRECTED ADR PROGRAM
   INC.
                                          DEFENDANT(S)

NOTICE TO PARTIES:
It is the policy of this Court to encourage settlement of civil litigation when such is in the best interest of the
parties. The Court favors any reasonable means, including alternative dispute resolution (ADR), to accomplish
this goal. See Civil L.R. 16-15. Unless exempted by the trial judge, parties in all civil cases must participate in
an ADR process before trial. See Civil L.R. 16-15.1.

The district judge to whom the above-referenced case has been assigned is participating in an ADR Program
that presumptively directs this case to either the Court Mediation Panel or to private mediation. See General
Order No. 11-10, §5. For more information about the Mediation Panel, visit the Court website,
www.cacd.uscourts.gov, under "ADR."

Pursuant to Civil L.R. 26-1(c), counsel are directed to furnish and discuss with their clients the attached ADR
Notice To Parties before the conference ofthe parties mandated by Fed.R.Civ.P. 26(t). Based upon the
consultation with their clients and discussion with opposing counsel, counsel must indicate the following in
their Joint 26(t) Report: 1) whether the case is best suited for mediation with a neutral from the Court
Mediation Panel or private mediation; and 2) when the mediation should occur. See Civil L.R. 26-1(c).

At the initial scheduling conference, counsel should be fully prepared to discuss their preference for referral to
the Court Mediation Panel or to private mediation and when the mediation should occur. The Court will enter
an Order/Referral to ADR at or around the time of the scheduling conference.




                                                                              TERRY NAFISI


 Dated: Monday, June 17,2013



ADR-08 (07 / 12)                 NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM
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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                     NOTICE TO PARTIES: COURT POLICY ON SETTLEMENT
                    AND USE OF ALTERNATIVE DISPUTE RESOLUTION (ADR)
                  Counsel are required to furnish and discuss this Notice with their clients.


 Despite the efforts of the courts to achieve a fair, timely and just outcome in all cases, litigation has become
 an often lengthy and expensive process. For this reason, it is this Court's policy to encourage parties to
 attempt to settle their disputes, whenever possible, through alternative dispute resolution (ADR).

 ADR can reduce both the time it takes to resolve a case and the costs oflitigation, which can be substantial.
 ADR options include mediation, arbitration (binding or non-binding), neutral evaluation (NE), conciliation,
 mini-trial and fact-finding. ADR can be either Court-directed or privately conducted.

 The Court's ADR Program offers mediation through a panel of qualified and impartial attorneys who will
 encourage the fair, speedy and economic resolution of civil actions. Panel Mediators each have at least ten
 years legal experience and are appointed by the Court. They volunteer their preparation time and the first
 three hours of a mediationsession. This is a cost-effective way for parties to explore potential avenues of
 resolution.

 This Court requires that counsel discuss with their clients the ADR options available and instructs them to
 come prepared to discuss the parties' choice of ADR option (settlement conference before a magistrate
 judge; Court Mediation Panel; private mediation) at the initial scheduling conference. Counsel are also
 required to indicate the client's choice of ADR option in advance of that conference. See Civil L.R. 26-1(c)
 and Fed.R.Civ.P. 26(f).

 Clients and their counsel should carefully consider the anticipated expense of litigation, the uncertainties as
 to outcome, the time it will take to get to trial, the time an appeal will take if a decision is appealed, the
 burdens on a client's time, and the costs and expenses oflitigation in relation to the amounts or stakes
 involved.

 Of the more than 9,000 civil cases filed in the District annually, less than 2 percent actually go to trial. The
 remaining cases are, for the most part: settled between the parties; voluntarily dismissed; resolved through
 Court-directed or other forms of ADR; or dismissed by the Court as lacking in merit or for other reasons
 provided by law.

  For more information about the Court's ADR Program, the Mediation Panel, and the profiles of mediators,
  visit the Court website, www.cacd.uscourts.gov, under "ADR."




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